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                                                                 EXHIBIT A
                                            STANDARDIZED FUND ACCOUNTING REPORT
                                                Receivership in SEC v. Thurman P. Bryant III, et al.
                                                  Civil Court Docket No. 04:17-CV-00336-ALM

                                           First Quarterly Reporting Period - 05/15/2017 to 06/30/2017

FUND ACCOUNTING:
                                                                                        Reporting Period Subtotal Prior Periods Grand Total
Line 1        Beginning Balance (As of 05/15/2017)                                                   $0.00                  $0.00      $0.00

              Increases in Fund Balance:

Line 2        Business Income                                                                         $0.00               $0.00        $0.00
Line 3        Cash and Securities                                                                 $1,220.00               $0.00    $1,220.00
Line 4        Interest/Dividends Income                                                               $0.00               $0.00        $0.00
Line 5        Business Asset Liquidation                                                              $0.00               $0.00        $0.00
Line 6        Personal Asset Liquidation                                                              $0.00               $0.00        $0.00
Line 7        Third-Party Litigation Income                                                           $0.00               $0.00        $0.00
Line 8        Miscellaneous - Other                                                              $29,871.56               $0.00   $29,871.56
    Line 8a                       Total Funds Available (Lines 1 -8):                            $31,091.56               $0.00   $31,091.56

              Decreases in Fund Balance:

Line 9        Disbursements to Investors                                                                 $0.00            $0.00        $0.00

Line 10       Disbursements for Receivership Operations                                                  $0.00            $0.00       $0.00
   Line 10a   Disbursements to Receiver or Other Professionals                                           $0.00            $0.00       $0.00
   Line 10b   Business Asset Expenses                                                                    $0.00            $0.00       $0.00
   Line 10c   Personal Asset Expenses                                                                    $0.00            $0.00       $0.00
   Line 10d   Investment Expenses                                                                      $132.60            $0.00     $132.60
   Line 10e   Third-Party Litigation Expenses
              1. Attorney Fees                                                                           $0.00            $0.00        $0.00
              2. Litigation Expenses                                                                     $0.00            $0.00        $0.00
              Total Third-Party Litigation Expenses                                                      $0.00            $0.00        $0.00

   Line 10f   Tax Administrator Fees and Bonds                                                           $0.00            $0.00       $0.00
   Line 10g   Federal and State Tax Payments                                                             $0.00            $0.00       $0.00
              Total Disbursements for Receivership Operations                                          $132.60            $0.00     $132.60

Line 11       Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a                   Distribution Plan Development Expenses:
              1. Fees:
                          Fund Administration                                                            $0.00            $0.00        $0.00
                          Independent Distribution Consultant (IDC)                                      $0.00            $0.00        $0.00
                          Distribution Agent                                                             $0.00            $0.00        $0.00
                          Consultants                                                                    $0.00            $0.00        $0.00
                          Legal Advisers                                                                 $0.00            $0.00        $0.00
                          Tax Advisers                                                                   $0.00            $0.00        $0.00
              2. Administrative Expenses                                                                 $0.00            $0.00        $0.00
              3. Miscellaneous                                                                           $0.00            $0.00        $0.00
              Total Plan Development Expenses                                                            $0.00            $0.00        $0.00

   Line 11b   Distribution Plan Implementation Expenses
              1. Fees
                          Fund Administration                                                            $0.00            $0.00        $0.00
                          Independent Distribution Consultant (IDC)                                      $0.00            $0.00        $0.00
                          Distribution Agent                                                             $0.00            $0.00        $0.00
                          Consultants                                                                    $0.00            $0.00        $0.00



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                                                                                 Reporting Period Subtotal Prior Periods Grand Total
                          Legal Advisers                                                      $0.00                  $0.00      $0.00
                          Tax Advisers                                                        $0.00                  $0.00      $0.00
              2. Administrative Expenses                                                      $0.00                  $0.00      $0.00
              3. Investor Identification:
                          Notice/Publishing Approved Plan                                    $0.00                     $0.00         $0.00
                          Claimant Identification                                            $0.00                     $0.00         $0.00
                          Claims Processing                                                  $0.00                     $0.00         $0.00
              4. Fund Administrator Bond                                                     $0.00                     $0.00         $0.00
              5. Miscellaneous                                                               $0.00                     $0.00         $0.00
              6. Federal Account for Investor Restitution                                    $0.00                     $0.00         $0.00
              (FAIR) Reporting Expenses
              Total Plan Implementation Expenses                                             $0.00                     $0.00         $0.00
              Total Disbursements for Distribution Expenses Paid by the Fund                 $0.00                     $0.00         $0.00

Line 12       Disbursements to Court/Other
   Line 12a              Investment Expenses/Court Registry Investment
              System (CRIS) Fees                                                             $0.00                     $0.00         $0.00
  Line 12b       Federal Tax Payments                                                        $0.00                     $0.00         $0.00
                Total Disbursement to Court/Other:                                           $0.00                     $0.00         $0.00
                Total Funds Disburses (Line 9 - 11):                                       $132.60                     $0.00       $132.60
Line 13       Ending Balance (As of 06/30/2017):                                        $30,958.96                     $0.00    $30,958.96
Line 14       Ending Balance of Fund - Net Assets:
   Line 14a      Cash & Cash Equivalents                                                $30,958.96                     $0.00    $30,958.96
   Line 14b      Investments                                                             $2,053.87                     $0.00     $2,053.87
   Line 14c      Other Assets or Uncleared Funds (Frozen Accounts)                      $10,371.00                     $0.00    $10,371.00
              Total Ending Balance of Fund - Net Assets                                 $43,383.83                     $0.00    $43,383.83


OTHER SUPPLEMENTAL INFORMATION:                                                  Reporting Period    Subtotal Prior Periods    Grand Total

              Report of Items NOT To Be Paid by the Fund:
Line 15       Disbursements for Plan Administration Expenses Not Paid by the Fund:
   Line 15a   Plan Development Expenses Not Paid by the Fund:
              1. Fees                                                                        $0.00                     $0.00         $0.00
                          Fund Administrator                                                 $0.00                     $0.00         $0.00
                          IDC                                                                $0.00                     $0.00         $0.00
                          Distribution Agent                                                 $0.00                     $0.00         $0.00
                          Consultants                                                        $0.00                     $0.00         $0.00
                          Legal Advisers                                                     $0.00                     $0.00         $0.00
                          Tax Advisers                                                       $0.00                     $0.00         $0.00
              2. Administrative Expenses                                                     $0.00                     $0.00         $0.00
              3. Miscellaneous                                                               $0.00                     $0.00         $0.00
              Total Plan Development Expenses Not Paid by the Fund                           $0.00                     $0.00         $0.00
  Line 15b    Plan Implementation Expenses Not Paid by the Fund:
              1. Fees
                          Fund Administrator                                                 $0.00                     $0.00         $0.00
                          IDC                                                                $0.00                     $0.00         $0.00
                          Distribution Agent                                                 $0.00                     $0.00         $0.00
                          Consultants                                                        $0.00                     $0.00         $0.00
                          Legal Advisers                                                     $0.00                     $0.00         $0.00
                          Tax Advisers                                                       $0.00                     $0.00         $0.00
              2. Administrative Expenses                                                     $0.00                     $0.00         $0.00
              3. Investor Identification:
                          Notice/Publishing Approved Plan                                    $0.00                     $0.00         $0.00
                          Claimant Identification                                            $0.00                     $0.00         $0.00
                          Claims Processing                                                  $0.00                     $0.00         $0.00
                          Web Site Maintenance/Call Center                                   $0.00                     $0.00         $0.00
              4. Fund Administrator Bond                                                     $0.00                     $0.00         $0.00
              5. Miscellaneous                                                               $0.00                     $0.00         $0.00
              6. FAIR Reporting Expenses                                                     $0.00                     $0.00         $0.00


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                                                                                 Reporting Period Subtotal Prior Periods Grand Total
              Total Plan Implementation Expenses Not Paid by the Fund                         $0.00                  $0.00      $0.00
  Line 15c      Tax Administrator Fees & Bonds Not Paid by the Fund
              Total Disbursements for Plan Administration Expenses Not Paid by
              the Fund                                                                       $0.00                 $0.00        $0.00
Line 16       Disbursements to Court/Other Not Paid by the Fund
   Line 16a      Investment Expenses/CRIS Fees                                               $0.00                 $0.00        $0.00
   Line 16b      Federal Tax Payments                                                        $0.00                 $0.00        $0.00
              Total Disbursements to Court/Other Not Paid by Fund:                           $0.00                 $0.00        $0.00
Line 17       DC & State Tax Payments                                                        $0.00                 $0.00        $0.00
Line 18       No. of Claims:
   Line 18a      # of Claims Received This Reporting Period                                     0                      0           0
   Line 18b      # of Claims Received Since Inception of Fund                                   0                      0           0
Line 19       No of Claimants/Investors
   Line 19a      # of Claimants/Investors Paid This Reporting Period                            0                      0           0
   Line 19b      # of Claimants/Investors Paid Since Inception of Fund                          0                      0           0




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